Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51         Desc:
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                                    EXHIBIT A

   Schedule of Claims Subject to the Three Hundred Forty-Seventh Omnibus Objection
                                     Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                   Exhibit A Page 2 of 46
                                                     Three Hundred and Forty-Seventh Omnibus Objection
                                                            Exhibit A - Claims to Be Reclassified
                                                                                         ASSERTED                                                                    CORRECTED
    NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                                STATUS                                                                       STATUS
1   ACEVEDO GONZALEZ, BERNARDO               28223        Commonwealth of Puerto Rico        503(b)(9)                  $158,400.00 Commonwealth of Puerto Rico           Unsecured                  $158,400.00
    COND. SARDINES ALTAMESA
    GARDEN                                                Commonwealth of Puerto Rico        Secured                    $158,400.00
    C/SAN IGNACIO APT A-17 3ERP
    SAN JUAN, PR 00921                                    Commonwealth of Puerto Rico        Unsecured                  $158,400.00

                                                                                             Subtotal                   $475,200.00

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $158,400.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $158,400.00.
2   AGOSTO CARRASQUILLO, LISA M.             29978        Commonwealth of Puerto Rico        503(b)(9)                  $112,800.00 Commonwealth of Puerto Rico           Unsecured                  $112,800.00
    URB. PONCE DE LEON 285 C/23
    GUAYNABO, PR 00969                                    Commonwealth of Puerto Rico        Secured                    $112,800.00

                                                          Commonwealth of Puerto Rico        Unsecured                  $112,800.00

                                                                                             Subtotal                   $338,400.00

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $112,800.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $112,800.00.
3   ALGARIN ORTIZ, OLGA IRIS                 109157       Commonwealth of Puerto Rico        Secured                     $60,000.00 Commonwealth of Puerto Rico           Unsecured                   $60,000.00
    #33 CALLE ETIOPE
    URB. HACIENDA PALOMA I                                Commonwealth of Puerto Rico        Unsecured                   $60,000.00
    LUQUILLO, PR 00773
                                                                                             Subtotal                   $120,000.00

    Reason: The claimant failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $60,000.00. Accordingly, claim has been reclassified in whole
    as a general unsecured claim in the amount of $60,000.00.
4   ALICEA FIGUEROA, FELIX B                 39346        Commonwealth of Puerto Rico        503(b)(9)                  $30,000.00* Commonwealth of Puerto Rico           Unsecured                  $30,000.00*
    HC 65 BOX 6361
    PATILLAS, PR 00723                                    Commonwealth of Puerto Rico        Secured                    $30,000.00*

                                                          Commonwealth of Puerto Rico        Unsecured                  $30,000.00*

                                                                                             Subtotal                   $90,000.00*

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $30,000.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $30,000.00.




    * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                            Page 1 of 45
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                                                     Three Hundred and Forty-Seventh Omnibus Objection
                                                            Exhibit A - Claims to Be Reclassified
                                                                                         ASSERTED                                                                    CORRECTED
    NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                                STATUS                                                                       STATUS
5   ARROYO ALEMÁN, MILTON I                  93120        Commonwealth of Puerto Rico        503(b)(9)               Undetermined* Commonwealth of Puerto Rico            Unsecured                  $57,600.00*
    HC 61 BOX 4280
    TRUJILLO ALTO, PR 00976                               Commonwealth of Puerto Rico        Secured                    $57,600.00*

                                                          Commonwealth of Puerto Rico        Unsecured                  $57,600.00*

                                                                                             Subtotal                  $115,200.00*

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $57,600.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $57,600.00.
6   ATANACIO BILBRAUT, IVELISSE              98152        Employees Retirement System of 503(b)(9)                       $31,200.00 Employees Retirement System of Unsecured                          $35,000.00
    AO-28 59 ST REXVILLE                                  the Government of the                                                     the Government of the
    BAYAMON, PR 00956                                     Commonwealth of Puerto Rico                                               Commonwealth of Puerto Rico
                                                          Employees Retirement System of Secured                         $35,000.00
                                                          the Government of the
                                                          Commonwealth of Puerto Rico
                                                                                             Subtotal                    $66,200.00

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $35,000.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $35,000.00.
7   AYALA CARRASQUILLO, JOSSIE M.            22975        Commonwealth of Puerto Rico        503(b)(9)                  $177,600.00 Commonwealth of Puerto Rico           Unsecured                  $177,600.00
    URBANIZACION EDUARDO J.
    SALDANA                                               Commonwealth of Puerto Rico        Secured                    $177,600.00
    CALLE ISLA VERDE E-16
    CAROLINA, PR 00983                                                                       Subtotal                   $355,200.00

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $177,600.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $177,600.00.
8   BARBOSA RIOS, IRMA E.                    98711^       Commonwealth of Puerto Rico        503(b)(9)                 $180,000.00* Commonwealth of Puerto Rico           Unsecured                 $180,000.00*
    URB PRECIOSA
    2 CALLE VERDE LUZ                                     Commonwealth of Puerto Rico        Secured                   $180,000.00*
    GURABO, PR 00778-5163
                                                                                             Subtotal                  $360,000.00*

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $180,000.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $180,000.00.
    ^ Claim #98711 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




    * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                            Page 2 of 45
                                     Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                   Exhibit A Page 4 of 46
                                                     Three Hundred and Forty-Seventh Omnibus Objection
                                                            Exhibit A - Claims to Be Reclassified
                                                                                         ASSERTED                                                                    CORRECTED
    NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                                STATUS                                                                       STATUS
9   BITTMAN DIEZ, CARL X                     27217^       Commonwealth of Puerto Rico        503(b)(9)                  $100,800.00 Commonwealth of Puerto Rico           Unsecured                  $100,800.00
    HC 5 BOX 54591
    AGUADILLA, PR 00603                                   Commonwealth of Puerto Rico        Secured                    $100,800.00

                                                          Commonwealth of Puerto Rico        Unsecured                  $100,800.00

                                                                                             Subtotal                   $302,400.00

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,800.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $100,800.00.
    ^ Claim #27217 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

10 BLANCO NUNEZ, IRAIDA                      59464        Commonwealth of Puerto Rico        503(b)(9)                   $96,600.00 Commonwealth of Puerto Rico           Unsecured                   $96,600.00
    P O BOX 3281
    RIO GRANDE, PR 00745                                  Commonwealth of Puerto Rico        Secured                     $96,600.00

                                                          Commonwealth of Puerto Rico        Unsecured                   $96,600.00

                                                                                             Subtotal                   $289,800.00

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $96,600.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $96,600.00.
11 BONILLA RIVERA, MARGARITA                 151698       Commonwealth of Puerto Rico        503(b)(9)                   $79,200.00 Commonwealth of Puerto Rico           Unsecured                   $79,200.00
    455 C/SICILIA E-80 RES. MANUEL A.
    PEREZ                                                 Commonwealth of Puerto Rico        Secured                     $79,200.00
    SAN JUAN, PR 00523
                                                          Commonwealth of Puerto Rico        Unsecured                   $79,200.00

                                                                                             Subtotal                   $237,600.00

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $79,200.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $79,200.00.
12 BORRERO MALDONADO, IDALIZ                 28522^       Commonwealth of Puerto Rico        503(b)(9)                  $208,800.00 Commonwealth of Puerto Rico           Unsecured                  $208,800.00
    URBANIZACION LA MARINA
    2 CALLE ERIDANO                                       Commonwealth of Puerto Rico        Secured                    $208,800.00
    CAROLINA, PR 00979-4009
                                                                                             Subtotal                   $417,600.00

    Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
    failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $208,800.00. Accordingly, claim has been reclassified in whole as a general
    unsecured claim in the amount of $208,800.00.
    ^ Claim #28522 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims



    * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                            Page 3 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
13 BRUNO BELARDO, MYRIAM I                  33580        Commonwealth of Puerto Rico        503(b)(9)                  $240,000.00 Commonwealth of Puerto Rico           Unsecured                  $240,000.00
   RR 18 BOX 600
   SAN JUAN, PR 00926-9238                               Commonwealth of Puerto Rico        Secured                    $240,000.00

                                                                                            Subtotal                   $480,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $240,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $240,000.00.
14 CABELLO ACOSTA, WILMARIE                 31867        Commonwealth of Puerto Rico        503(b)(9)                   $8,781.33* Commonwealth of Puerto Rico           Unsecured                   $8,781.33*
   529 BLQ. 200 #10
   VILLA CAROLINA                                        Commonwealth of Puerto Rico        Secured                     $8,781.33*
   CAROLINA, PR 00985
                                                                                            Subtotal                   $17,562.66*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $8,781.33. Accordingly, claim has been reclassified in whole as a general unsecured
   claim in the amount of $8,781.33.
15 CABRERA MELENDEZ, ZULEMY E               23095        Commonwealth of Puerto Rico        503(b)(9)                  $115,200.00 Commonwealth of Puerto Rico           Unsecured                  $115,200.00
   EXTANCIAS CHALETS
   193 C/ TORTOZA APT 30                                 Commonwealth of Puerto Rico        Secured                    $115,200.00
   SAN JUAN, PR 00926
                                                         Commonwealth of Puerto Rico        Unsecured                  $115,200.00

                                                                                            Subtotal                   $345,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $115,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $115,200.00.
16 CALDERON OLIVERO, NILSA                  112748       Commonwealth of Puerto Rico        503(b)(9)                  $122,400.00 Commonwealth of Puerto Rico           Unsecured                  $122,400.00
   BO. CAMBALACHE HC 01
   BUZON 6312                                            Commonwealth of Puerto Rico        Secured                    $122,400.00
   CANOVANAS, PR 00729
                                                         Commonwealth of Puerto Rico        Unsecured                  $122,400.00

                                                                                            Subtotal                   $367,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $122,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $122,400.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 4 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
17 CALDERON PEREIRA, BAIBARA                30234        Commonwealth of Puerto Rico        503(b)(9)                   $21,600.00 Commonwealth of Puerto Rico           Unsecured                   $21,600.00
   DEPARTAMENTO DE LA FAMILIA
   20 CALLE VERGEL                                       Commonwealth of Puerto Rico        Secured                     $21,600.00
   APT. 3221
   CAISLIRA, PR 00987                                    Commonwealth of Puerto Rico        Unsecured                   $21,600.00

                                                                                            Subtotal                    $64,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $21,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $21,600.00.
18 CAMILO NIEVES, YESENIA                   21934        Commonwealth of Puerto Rico        503(b)(9)                  $122,400.00 Commonwealth of Puerto Rico           Unsecured                  $122,400.00
   VISTA DEL MAR
   108 CALLE PALMERAS                                    Commonwealth of Puerto Rico        Secured                    $122,400.00
   RIO GRANDE, PR 00745
                                                         Commonwealth of Puerto Rico        Unsecured                  $122,400.00

                                                                                            Subtotal                   $367,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $122,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $122,400.00.
19 CARTAGENA MARTINEZ, PEDRO J              20966        Commonwealth of Puerto Rico        503(b)(9)                  $118,800.00 Commonwealth of Puerto Rico           Unsecured                  $118,800.00
   500 AVE WEST MAIN
   SUITE 126                                             Commonwealth of Puerto Rico        Secured                    $118,800.00
   BAYAMON, PR 00961
                                                         Commonwealth of Puerto Rico        Unsecured                  $118,800.00

                                                                                            Subtotal                   $356,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $118,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $118,800.00.
20 CASTRO HIRALDO, BENJAMIN                 29122        Commonwealth of Puerto Rico        503(b)(9)                  $209,400.00 Commonwealth of Puerto Rico           Unsecured                  $209,400.00
   C/ MIRLO #969
   URB. COUNTRY CLUB                                     Commonwealth of Puerto Rico        Secured                    $209,400.00
   RIO PIEDRAS, PR 00924
                                                         Commonwealth of Puerto Rico        Unsecured                  $209,400.00

                                                                                            Subtotal                   $628,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $209,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $209,400.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 5 of 45
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                                                                  Exhibit A Page 7 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
21 CASTRO RODRIGUEZ, ELIZABETH              73510        Commonwealth of Puerto Rico        503(b)(9)                  $178,200.00 Commonwealth of Puerto Rico           Unsecured                  $178,200.00
   HC 01 BOX 11648
   CAROLINA, PR 00987                                    Commonwealth of Puerto Rico        Secured                    $178,200.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $178,200.00

                                                                                            Subtotal                   $534,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $178,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $178,200.00.
22 CAY MORALES, MARIA                       66935        Commonwealth of Puerto Rico        503(b)(9)                   $20,000.00 Commonwealth of Puerto Rico           Unsecured                   $20,000.00
   VILLA UNIVERSITARIA
   R24 CALLE 24                                          Commonwealth of Puerto Rico        Secured                     $20,000.00
   HUMACAO, PR 00791-4345
                                                                                            Subtotal                    $40,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $20,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $20,000.00.
23 CINTRON SANTOS, EDWIN A.                 167842^      Commonwealth of Puerto Rico        503(b)(9)                   $86,400.00 Commonwealth of Puerto Rico           Unsecured                   $86,400.00
   HC-2 BOX 8597
   YABUCOA, PR 00767                                     Commonwealth of Puerto Rico        Secured                     $86,400.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $86,400.00

                                                                                            Subtotal                   $259,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $86,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $86,400.00.
   ^ Claim #167842 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

24 CLASS VILLANUEVA, ANGEL                  15036        Commonwealth of Puerto Rico        503(b)(9)                  $64,200.00* Commonwealth of Puerto Rico           Unsecured                  $64,200.00*
   RAFAEL
   URB MOUNTAIN VIEW                                     Commonwealth of Puerto Rico        Secured                    $64,200.00*
   L 13 CALLE 8
   CAROLINA, PR 00987                                                                       Subtotal                  $128,400.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $64,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $64,200.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 6 of 45
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
25 CLAUDIO RODRIGUEZ, DEBORATH J 32185                   Commonwealth of Puerto Rico        503(b)(9)                  $158,400.00 Commonwealth of Puerto Rico           Unsecured                  $158,400.00
   3RA EXT URB SANTA ELENA
   166 CALLE MONTE ALVERNIA                              Commonwealth of Puerto Rico        Secured                    $158,400.00
   GUAYANILLA, PR 00656
                                                         Commonwealth of Puerto Rico        Unsecured                  $158,400.00

                                                                                            Subtotal                   $475,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $158,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $158,400.00.
26 COLLAZO OTERO, MARIEL                    29492        Commonwealth of Puerto Rico        503(b)(9)                  $158,400.00 Commonwealth of Puerto Rico           Unsecured                  $158,400.00
   BALCONES DE SANTA MARIA
   1500 AVE SAN IGNACIO                                  Commonwealth of Puerto Rico        Secured                    $158,400.00
   SUITE 26
   SAN JUAN, PR 00921                                    Commonwealth of Puerto Rico        Unsecured                  $158,400.00

                                                                                            Subtotal                   $475,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $158,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $158,400.00.
27 COLON AGOSTO, NATALIA                    27414        Commonwealth of Puerto Rico        503(b)(9)                  $165,600.00 Commonwealth of Puerto Rico           Unsecured                  $165,600.00
   PO BOX 550
   CANOVANAS, PR 00729                                   Commonwealth of Puerto Rico        Secured                    $165,600.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $165,600.00

                                                                                            Subtotal                   $496,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $165,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $165,600.00.
28 COLON ENCARNACION, MIGDALIA              23773        Commonwealth of Puerto Rico        503(b)(9)                  $211,200.00 Commonwealth of Puerto Rico           Unsecured                  $211,200.00
   CALLE SAGITARIO # 170
   BRISAS DE LOIZA                                       Commonwealth of Puerto Rico        Secured                    $211,200.00
   CANOVANAS, PR 00729
                                                         Commonwealth of Puerto Rico        Unsecured                  $211,200.00

                                                                                            Subtotal                   $633,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $211,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $211,200.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 7 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
29 COLON SANES, JAHAYRA I.                  113147       Commonwealth of Puerto Rico        503(b)(9)                   $21,600.00 Commonwealth of Puerto Rico           Unsecured                   $21,600.00
   HC 55 BOX 8254
   CEIBA, PR 00735                                       Commonwealth of Puerto Rico        Secured                     $21,600.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $21,600.00

                                                                                            Subtotal                    $64,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $21,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $21,600.00.
30 CORRALIZA RODRIGUEZ, CARMEN L 84542                   Commonwealth of Puerto Rico        503(b)(9)                  $348,625.80 Commonwealth of Puerto Rico           Unsecured                  $348,625.80
   PO BOX 193504
   SAN JUAN, PR 00919-3504                               Commonwealth of Puerto Rico        Secured                    $348,625.80

                                                                                            Subtotal                   $697,251.60

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $348,625.80. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $348,625.80.
31 CORRES SOTO, MORAYMA                     26257^       Commonwealth of Puerto Rico        503(b)(9)                   $48,336.00 Commonwealth of Puerto Rico           Unsecured                   $48,336.00
   CONDO. PARQUE JULIANA APTO. 103
   EDIF. 100                                             Commonwealth of Puerto Rico        Secured                     $48,336.00
   CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                   $48,336.00

                                                                                            Subtotal                   $145,008.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $48,336.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $48,336.00.
   ^ Claim #26257 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims

32 CORRES SOTO, MORAYMA                     44328        Commonwealth of Puerto Rico        503(b)(9)                 $158,400.00* Commonwealth of Puerto Rico           Unsecured                 $158,400.00*
   CONDO. PARQUE JULIANA
   EDIF 100 APTO 103                                     Commonwealth of Puerto Rico        Secured                   $158,400.00*
   CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                 $158,400.00*

                                                                                            Subtotal                  $475,200.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $158,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $158,400.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 8 of 45
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
33 CRUZ CARLO, JOSE M                       28527^       Commonwealth of Puerto Rico        503(b)(9)                 $127,200.00* Commonwealth of Puerto Rico           Unsecured                 $127,200.00*
   HC 66 BOX 10317
   FAJARDO, PR 00738                                     Commonwealth of Puerto Rico        Secured                   $127,200.00*

                                                         Commonwealth of Puerto Rico        Unsecured                 $127,200.00*

                                                                                            Subtotal                  $381,600.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $127,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $127,200.00.
   ^ Claim #28527 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

34 CRUZ CARLO, JOSE M.                      31462^       Commonwealth of Puerto Rico        503(b)(9)                   $53,338.32 Commonwealth of Puerto Rico           Unsecured                   $53,338.32
   HC 66 BOX 10317
   FAJARDO, PR 00738                                     Commonwealth of Puerto Rico        Secured                     $53,338.32

                                                         Commonwealth of Puerto Rico        Unsecured                   $53,338.32

                                                                                            Subtotal                   $160,014.96

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $53,338.32. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $53,338.32.
   ^ Claim #31462 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #31462 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
35 CRUZ GUZMAN, TEODORO                     28289        Employees Retirement System of 503(b)(9)                     $100,000.00* Employees Retirement System of Unsecured                        $100,000.00*
   URB VILLA MADRID                                      the Government of the                                                     the Government of the
   G-IO CALLE 9                                          Commonwealth of Puerto Rico                                               Commonwealth of Puerto Rico
   COAMO, PR 00769
                                                         Employees Retirement System of Secured                       $100,000.00*
                                                         the Government of the
                                                         Commonwealth of Puerto Rico
                                                         Employees Retirement System of Unsecured                     $100,000.00*
                                                         the Government of the
                                                         Commonwealth of Puerto Rico
                                                                                            Subtotal                  $300,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,000.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 9 of 45
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
36 CRUZ GUZMAN, TEODORO                     47402        Commonwealth of Puerto Rico        503(b)(9)                 $100,000.00* Commonwealth of Puerto Rico           Unsecured                 $100,000.00*
   URB VILLA MADRID
   G-IO CALLE 9                                          Commonwealth of Puerto Rico        Secured                   $100,000.00*
   COAMO, PR 00769
                                                         Commonwealth of Puerto Rico        Unsecured                 $100,000.00*

                                                                                            Subtotal                  $300,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,000.00.
37 CRUZ MEDINA, VERONICA                    86988        Commonwealth of Puerto Rico        503(b)(9)                  $106,800.00 Commonwealth of Puerto Rico           Unsecured                  $106,800.00
   P O BOX 579
   JUNCOS, PR 00777                                      Commonwealth of Puerto Rico        Secured                    $106,800.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $106,800.00

                                                                                            Subtotal                   $320,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $106,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $106,800.00.
38 CRUZ OTERO, DAISSY                       40741        Commonwealth of Puerto Rico        503(b)(9)                  $129,600.00 Commonwealth of Puerto Rico           Unsecured                  $129,600.00
   RR 11 BOX 6000 SUITE 110
   BO NUEVO                                              Commonwealth of Puerto Rico        Secured                    $129,600.00
   BAYAMON, PR 00956
                                                         Commonwealth of Puerto Rico        Unsecured                  $129,600.00

                                                                                            Subtotal                   $388,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $129,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $129,600.00.
39 DAVILA AYALA, NELIDA                     31939        Commonwealth of Puerto Rico        503(b)(9)                  $244,800.00 Commonwealth of Puerto Rico           Unsecured                  $244,800.00
   CALLE 16 50 1423
   CAPARRA TERRACE                                       Commonwealth of Puerto Rico        Secured                    $244,800.00
   SAN JUAN, PR 00921
                                                         Commonwealth of Puerto Rico        Unsecured                  $244,800.00

                                                                                            Subtotal                   $734,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $244,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $244,800.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 10 of 45
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
40 DE JESUS GONZALEZ, BETSY                 82743^       Commonwealth of Puerto Rico        503(b)(9)                  $108,000.00 Commonwealth of Puerto Rico           Unsecured                  $108,000.00
   HC 06 BOX 70057
   CAGUAS, PR 00727                                      Commonwealth of Puerto Rico        Secured                    $108,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $108,000.00

                                                                                            Subtotal                   $324,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $108,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $108,000.00.
   ^ Claim #82743 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

41 DIAZ DEBIEN, MARIPROVI                   56802        Commonwealth of Puerto Rico        503(b)(9)                   $21,000.00 Commonwealth of Puerto Rico           Unsecured                   $21,000.00
   URBANIZACION FAIR VIEW #1928
   CALLE FRANCISCO ZUÑIGA                                Commonwealth of Puerto Rico        Secured                     $21,200.00
   SAN JUAN, PR 00926
                                                                                            Subtotal                    $42,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $21,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $21,000.00.
42 DIAZ MORALES, AZLIN                      64729^       Commonwealth of Puerto Rico        503(b)(9)                  $122,400.00 Commonwealth of Puerto Rico           Unsecured                  $122,400.00
   QUINTAS BALDWIN
   50 AVE A APT 1206                                     Commonwealth of Puerto Rico        Secured                    $122,400.00
   BAYAMON, PR 00959
                                                         Commonwealth of Puerto Rico        Unsecured                  $122,400.00

                                                                                            Subtotal                   $367,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $122,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $122,400.00.
   ^ Claim #64729 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

43 DOMINGUEZ SANCHEZ, LEILA                 139115       Commonwealth of Puerto Rico        503(b)(9)                  $277,200.00 Commonwealth of Puerto Rico           Unsecured                  $277,200.00
   CHALETS DE FUENTES 1006
   CAROLINA, PR 00987                                    Commonwealth of Puerto Rico        Secured                    $277,200.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $277,200.00

                                                                                            Subtotal                   $831,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $277,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $277,200.00.


   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 11 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
44 ESCALERA, HERIBERTO GAUTIER              14495        Commonwealth of Puerto Rico        503(b)(9)                 $108,000.00* Commonwealth of Puerto Rico           Unsecured                 $108,000.00*
   PO BOX 20948
   SAN JUAN, PR 00928-0948                               Commonwealth of Puerto Rico        Secured                   $108,000.00*

                                                                                            Subtotal                  $216,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $108,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $108,000.00.
45 FARIS ELBA, LUIS ALBERTO                 31883        Commonwealth of Puerto Rico        503(b)(9)                  $187,200.00 Commonwealth of Puerto Rico           Unsecured                  $187,200.00
   1430 AVE SAN ALFONSO, APT. 2903
   SAN JUAN, PR 00921-4673                               Commonwealth of Puerto Rico        Secured                    $187,200.00

                                                                                            Subtotal                   $374,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $187,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $187,200.00.
46 FEBO CARRASQUILLO, ALEXANDRA 65050                    Commonwealth of Puerto Rico        503(b)(9)                   $64,800.00 Commonwealth of Puerto Rico           Unsecured                   $64,800.00
   HC 4 BOX 8874
   CANOVANAS, PR 00729                                   Commonwealth of Puerto Rico        Secured                     $64,800.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $64,800.00

                                                                                            Subtotal                   $194,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $64,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $64,800.00.
47 FEBUS RODRIGUEZ, ROBERTO                 39663^       Commonwealth of Puerto Rico        503(b)(9)                 $342,816.29* Commonwealth of Puerto Rico           Unsecured                 $342,816.29*
   URB SANTIAGO IGLESIAS
   CALLE FERRER FERRER                                   Commonwealth of Puerto Rico        Secured                   $342,816.29*
   #1350 RIO PIEDRAS
   SAN JUAN, PR 00921                                    Commonwealth of Puerto Rico        Unsecured               Undetermined*

                                                                                            Subtotal                  $685,632.58*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $342,816.29. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $342,816.29.
   ^ Claim #39663 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 12 of 45
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
48 FIGUEROA RODRIGUEZ, ARLENE               86808        Commonwealth of Puerto Rico        503(b)(9)                   $83,400.00 Commonwealth of Puerto Rico           Unsecured                   $83,400.00
   CIUDAD JARDIN III
   177 CALLE DATILES                                     Commonwealth of Puerto Rico        Secured                     $83,400.00
   CANOVANAS, PR 00729
                                                         Commonwealth of Puerto Rico        Unsecured                   $83,400.00

                                                                                            Subtotal                   $250,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $83,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $83,400.00.
49 FIGUEROA, LINNETTE J                     82844        Commonwealth of Puerto Rico        503(b)(9)                  $108,000.00 Commonwealth of Puerto Rico           Unsecured                  $108,000.00
   GOLDEN VIEW PLAZA
   503 CALLE MODESTA APT 310                             Commonwealth of Puerto Rico        Secured                    $108,000.00
   SAN JUAN, PR 00924
                                                         Commonwealth of Puerto Rico        Unsecured                  $108,000.00

                                                                                            Subtotal                   $324,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $108,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $108,000.00.
50 FLORES LOPEZ, JOSE R                     171325       Commonwealth of Puerto Rico        503(b)(9)                   $70,000.00 Commonwealth of Puerto Rico           Unsecured                   $70,000.00
   HC 4 BOX 44374
   CAGUAS, PR 00725                                      Commonwealth of Puerto Rico        Secured                     $70,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $70,000.00

                                                                                            Subtotal                   $210,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $70,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $70,000.00.
51 GALI RODRIGUEZ, YASHIRA                  61368        Commonwealth of Puerto Rico        503(b)(9)                   $79,200.00 Commonwealth of Puerto Rico           Unsecured                   $79,200.00
   HC 4 BOX 7380
   COROZAL, PR 00783                                     Commonwealth of Puerto Rico        Secured                     $79,200.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $79,200.00

                                                                                            Subtotal                   $237,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $79,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $79,200.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
52 GARCIA FEBO, KEYLA Y                     27605^       Commonwealth of Puerto Rico        503(b)(9)                   $43,454.52 Commonwealth of Puerto Rico           Unsecured                   $43,454.52
   PO BOX 187
   CANOVANAS, PR 00729                                   Commonwealth of Puerto Rico        Secured                     $43,454.52

                                                         Commonwealth of Puerto Rico        Unsecured                   $43,454.52

                                                                                            Subtotal                   $130,363.56

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $43,454.52. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $43,454.52.
   ^ Claim #27605 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims

53 GARCIA CONALES, CELIA                    76739        Commonwealth of Puerto Rico        503(b)(9)                 $165,600.00* Commonwealth of Puerto Rico           Unsecured                 $165,600.00*
   EDIF. # F, APT. 406
   RESIDENTIAL TORRES DE DE                              Commonwealth of Puerto Rico        Secured                   $165,600.00*
   SABANA
   CAROLINA, PR 00983                                                                       Subtotal                  $331,200.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $165,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $165,600.00.
54 GARCIA FEBO, KEYLA Y                     28886        Commonwealth of Puerto Rico        503(b)(9)                   $72,000.00 Commonwealth of Puerto Rico           Unsecured                   $72,000.00
   PO BOX 187
   CANOVANAS, PR 00729                                   Commonwealth of Puerto Rico        Secured                     $72,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $72,000.00

                                                                                            Subtotal                   $216,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $72,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $72,000.00.
55 GARCIA FUENTES, EDDIE                    45831        Commonwealth of Puerto Rico        503(b)(9)                  $144,000.00 Commonwealth of Puerto Rico           Unsecured                  $144,000.00
   COND VILLAS DEL SOL
   840 CALLE ANASCO APT 333                              Commonwealth of Puerto Rico        Secured                    $144,000.00
   SAN JUAN, PR 00925
                                                         Commonwealth of Puerto Rico        Unsecured                  $144,000.00

                                                                                            Subtotal                   $432,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $144,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $144,000.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
56 GARCIA HERNANDEZ, NEFTALI                24367^       Commonwealth of Puerto Rico        503(b)(9)                  $237,600.00 Commonwealth of Puerto Rico           Unsecured                  $237,600.00
   URB. MONTE VERDE
   CALLE MONTE SANTO                                     Commonwealth of Puerto Rico        Secured                    $237,600.00
   #3317
   MANATI, PR 00674                                      Commonwealth of Puerto Rico        Unsecured                  $237,600.00

                                                                                            Subtotal                   $712,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $237,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $237,600.00.
   ^ Claim #24367 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

57 GARCIA MARTINEZ, JUANITA                 2082^        Commonwealth of Puerto Rico        503(b)(9)               Undetermined* Commonwealth of Puerto Rico            Unsecured                  $30,000.00*
   CALLE 14 T-49
   URB. LAGOS DE PLATA                                   Commonwealth of Puerto Rico        Secured                    $30,000.00*
   LEVITTOWN
   TOA BAJA, PR 00949                                    Commonwealth of Puerto Rico        Unsecured                  $30,000.00*

                                                                                            Subtotal                   $60,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $30,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $30,000.00.
   ^ Claim #2082 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims

58 GERENA MARCANO, RICARDO                  96234^       Commonwealth of Puerto Rico        503(b)(9)                  $201,600.00 Commonwealth of Puerto Rico           Unsecured                  $201,600.00
   22 CALLE
   15 HILL BROTHERS                                      Commonwealth of Puerto Rico        Secured                    $201,600.00
   SAN JUAN, PR 00924
                                                         Commonwealth of Puerto Rico        Unsecured                  $201,600.00

                                                                                            Subtotal                   $604,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $201,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $201,600.00.
   ^ Claim #96234 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 15 of 45
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
59 GONZALEZ CINTRON, MANUEL                 162095       Commonwealth of Puerto Rico        503(b)(9)                  $115,200.00 Commonwealth of Puerto Rico           Unsecured                  $115,200.00
   URB PUERTO NUEVO
   525 CALLE ARAGON                                      Commonwealth of Puerto Rico        Secured                    $115,200.00
   SAN JUAN, PR 00920
                                                         Commonwealth of Puerto Rico        Unsecured                  $115,200.00

                                                                                            Subtotal                   $345,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $115,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $115,200.00.
60 GONZALEZ CORPORAN, DARIO A.              111489       Commonwealth of Puerto Rico        503(b)(9)                  $85,830.00* Commonwealth of Puerto Rico           Unsecured                  $85,830.00*
   URB. LA DELICIAS
   704 CALLE RAFAEL RIVERA ESBRI                         Commonwealth of Puerto Rico        Secured                    $85,830.00*
   PONCE, PR 00728-3803
                                                                                            Subtotal                  $171,660.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $85,830.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $85,830.00.
61 GONZALEZ GARCIA, MELISA                  39909        Commonwealth of Puerto Rico        503(b)(9)                   $72,000.00 Commonwealth of Puerto Rico           Unsecured                   $72,000.00
   PO BOX 3105
   GUAYNABO, PR 00970                                    Commonwealth of Puerto Rico        Secured                     $72,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $72,000.00

                                                                                            Subtotal                   $216,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $72,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $72,000.00.
62 GONZALEZ VARGAS, MIGUEL A                45135^       Commonwealth of Puerto Rico        503(b)(9)                   $3,551.00* Commonwealth of Puerto Rico           Unsecured                   $3,551.00*
   URB PASEO LOS CORALES 2
   731 CALLE MAR DE BENGAL                               Commonwealth of Puerto Rico        Secured                     $3,551.00*
   DORADO, PR 00646-3248
                                                                                            Subtotal                    $7,102.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $3,551.00. Accordingly, claim has been reclassified in whole as a general unsecured
   claim in the amount of $3,551.00.
   ^ Claim #45135 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




   * Indicates claim contains unliquidated and/or undetermined amounts
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                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 18 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
63 HERNANDEZ RIVERA, RAMON                  29547        Commonwealth of Puerto Rico        503(b)(9)                       $213.77 Commonwealth of Puerto Rico          Unsecured                       $213.77
   CALLE LAS FLORES #42
   VISTA ALEGRE                                          Commonwealth of Puerto Rico        Secured                         $213.77
   BAYAMON, PR 00959
                                                         Commonwealth of Puerto Rico        Unsecured                       $213.77

                                                                                            Subtotal                        $641.31

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $213.77. Accordingly, claim has been reclassified in whole as a general unsecured
   claim in the amount of $213.77.
64 HERNANDEZ RODRIGUEZ, JUAN                33292        Commonwealth of Puerto Rico        Secured                     $40,000.00 Commonwealth of Puerto Rico           Unsecured                   $40,000.00
   HC 8 BOX 3337
   SABANA GRANDE, PR 00637                               Commonwealth of Puerto Rico        Unsecured                   $40,000.00

                                                                                            Subtotal                    $80,000.00

   Reason: The claimant failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $40,000.00. Accordingly, claim has been reclassified in whole
   as a general unsecured claim in the amount of $40,000.00.
65 HERNANDEZ VELAZQUEZ, RAMON               88222        Commonwealth of Puerto Rico        503(b)(9)                  $201,600.00 Commonwealth of Puerto Rico           Unsecured                  $201,600.00
   URB LA PATAGONIA
   1 CALLE VICTORIA                                      Commonwealth of Puerto Rico        Secured                    $201,600.00
   HUMACAO, PR 00791-4046
                                                         Commonwealth of Puerto Rico        Unsecured                  $201,600.00

                                                                                            Subtotal                   $604,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $201,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $201,600.00.
66 IVAN PEREZ, FELIX                        23150        Commonwealth of Puerto Rico        503(b)(9)                  $180,000.00 Commonwealth of Puerto Rico           Unsecured                  $180,000.00
   RR-6 BOX 66 CAMINO LOURDES
   SAN JUAN, PR 00926                                    Commonwealth of Puerto Rico        Secured                    $180,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $180,000.00

                                                                                            Subtotal                   $540,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $180,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $180,000.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 17 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 19 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
67 JESUS BON, BASILIO                       112846       Commonwealth of Puerto Rico        503(b)(9)                  $100,000.00 Commonwealth of Puerto Rico           Unsecured                  $100,000.00
   PO BOX 193965
   SAN JUAN, PR 00919-3965                               Commonwealth of Puerto Rico        Secured                    $100,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $100,000.00

                                                                                            Subtotal                   $300,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,000.00.
68 JOHNSON ROSARIO, EVELYN                  27751        Commonwealth of Puerto Rico        503(b)(9)                 $133,416.00* Commonwealth of Puerto Rico           Unsecured                 $133,416.00*
   VILLA CADIZ
   424 CALLE OLOT                                        Commonwealth of Puerto Rico        Secured                   $133,416.00*
   SAN JUAN, PR 00923
                                                         Commonwealth of Puerto Rico        Unsecured                 $133,416.00*

                                                                                            Subtotal                  $400,248.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $133,416.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $133,416.00.
69 JOHSON ROSARIO, EVELYN J                 28524^       Commonwealth of Puerto Rico        503(b)(9)                   $42,192.96 Commonwealth of Puerto Rico           Unsecured                   $42,192.96
   424 CALLE OLOT VILLA CADIZ
   SAN JUAN, PR 00923                                    Commonwealth of Puerto Rico        Secured                     $42,192.96

                                                         Commonwealth of Puerto Rico        Unsecured                   $42,192.96

                                                                                            Subtotal                   $126,578.88

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $42,192.96. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $42,192.96.
   ^ Claim #28524 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims

70 LANTIGUA GARCIA, VIVIANA                 85611^       Commonwealth of Puerto Rico        503(b)(9)                  $112,200.00 Commonwealth of Puerto Rico           Unsecured                  $112,200.00
   DR. QUEVEDO BAEZ
   BT 21 5TA SECCION LEVITTOWN                           Commonwealth of Puerto Rico        Secured                    $112,200.00
   TOA BAJA, PR 00949
                                                         Commonwealth of Puerto Rico        Unsecured                  $112,200.00

                                                                                            Subtotal                   $336,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $112,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $112,200.00.
   ^ Claim #85611 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 18 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 20 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
71 LIMERY DONES, ABRAHAM                    25267^       Commonwealth of Puerto Rico        503(b)(9)                  $40,773.24* Commonwealth of Puerto Rico           Unsecured                  $40,773.24*
   C/ LEILA U-20
   URB. LEVITOWN                                         Commonwealth of Puerto Rico        Secured                    $40,773.24*
   TOA BAJA, PR 00949
                                                         Commonwealth of Puerto Rico        Unsecured                  $40,773.24*

                                                                                            Subtotal                  $122,319.72*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $40,773.24. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $40,773.24.
   ^ Claim #25267 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #25267 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
72 LIMERY DONES, ABRAHAM                    28721^       Commonwealth of Puerto Rico        503(b)(9)                 $158,400.00* Commonwealth of Puerto Rico           Unsecured                 $158,400.00*
   URB LEVITTOWN
   U20 CALLE LEILA                                       Commonwealth of Puerto Rico        Secured                   $158,400.00*
   TOA BAJA, PR 00949
                                                                                            Subtotal                  $316,800.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $158,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $158,400.00.
   ^ Claim #28721 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

73 LLADO-ESCUDERO, SARAH E.                 80847        Commonwealth of Puerto Rico        503(b)(9)                  $86,400.00* Commonwealth of Puerto Rico           Unsecured                  $86,400.00*
   P.O. BOX 8632
   CAGUAS, PR 00726                                      Commonwealth of Puerto Rico        Secured                    $86,400.00*

                                                                                            Subtotal                  $172,800.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $86,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $86,400.00.
74 LOBETO SANFELIZ, INES                    2889^        Commonwealth of Puerto Rico        503(b)(9)                   $20,923.45 Commonwealth of Puerto Rico           Unsecured                   $20,923.45
   PO BOX 2055
   ISABELA, PR 00662                                     Commonwealth of Puerto Rico        Secured                     $20,923.45

                                                         Commonwealth of Puerto Rico        Unsecured                   $20,923.45

                                                                                            Subtotal                    $62,770.35

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $20,923.45. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $20,923.45.
   ^ Claim #2889 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims


   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 19 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 21 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
75 LOBETO SANFELIZ, INES                    47464^       Commonwealth of Puerto Rico        503(b)(9)                   $20,923.45 Commonwealth of Puerto Rico           Unsecured                   $20,923.45
   PO BOX 2055
   ISABELA, PR 00662                                     Commonwealth of Puerto Rico        Secured                     $20,923.45

                                                                                            Subtotal                    $41,846.90

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $20,923.45. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $20,923.45.
   ^ Claim #47464 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims

76 LOPEZ GONZALEZ, SYLVIA D.                28114        Commonwealth of Puerto Rico        503(b)(9)                   $79,200.00 Commonwealth of Puerto Rico           Unsecured                   $79,200.00
   BES. CAMPANILLA CALLE RAMON
   BEFANCES CASA 625                                     Commonwealth of Puerto Rico        Secured                     $79,200.00
   TOA BAJA, PR 00949
                                                         Commonwealth of Puerto Rico        Unsecured                   $79,200.00

                                                                                            Subtotal                   $237,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $79,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $79,200.00.
77 LOPEZ RODRIGUEZ, SANDRA I                87087        Commonwealth of Puerto Rico        503(b)(9)                  $149,400.00 Commonwealth of Puerto Rico           Unsecured                  $149,400.00
   HC2 BOX 14684
   CAROLINA, PR 00987                                    Commonwealth of Puerto Rico        Secured                    $149,400.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $149,400.00

                                                                                            Subtotal                   $448,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $149,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $149,400.00.
78 LOZADA FERNANDEZ, EVELYN                 87873^       Commonwealth of Puerto Rico        503(b)(9)                  $144,000.00 Commonwealth of Puerto Rico           Unsecured                  $144,000.00
   BO. SANTA ROSA I
   HC 06 BOX 6894                                        Commonwealth of Puerto Rico        Secured                    $144,000.00
   GUAYNABO, PR 00971-9571
                                                         Commonwealth of Puerto Rico        Unsecured                  $144,000.00

                                                                                            Subtotal                   $432,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $144,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $144,000.00.
   ^ Claim #87873 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims



   * Indicates claim contains unliquidated and/or undetermined amounts
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                                                                 Exhibit A Page 22 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
79 LUYANDO ASTACIO, ANGEL JAVIER 45872                   Commonwealth of Puerto Rico        503(b)(9)                   $40,000.00 Commonwealth of Puerto Rico           Unsecured                   $40,000.00
   PO BOX 89
   HUMACAO, PR 00792                                     Commonwealth of Puerto Rico        Secured                     $40,000.00

                                                                                            Subtotal                    $80,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $40,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $40,000.00.
80 MARIN ENCARNACION, GRACE H.              31113        Commonwealth of Puerto Rico        503(b)(9)                 $110,600.00* Commonwealth of Puerto Rico           Unsecured                 $110,600.00*
   (DERECHO PROPIO)
   PO BOX 7164                                           Commonwealth of Puerto Rico        Secured                   $110,600.00*
   SAN JUAN, PR 00916
                                                         Commonwealth of Puerto Rico        Unsecured                 $110,600.00*

                                                                                            Subtotal                  $331,800.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $110,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $110,600.00.
81 MARRERO OCASIO, EVELYN I                 126802       Commonwealth of Puerto Rico        503(b)(9)                  $223,200.00 Commonwealth of Puerto Rico           Unsecured                  $223,200.00
   PO BOX 826
   TRUJILLO ALTO, PR 00977                               Commonwealth of Puerto Rico        Secured                    $223,200.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $223,200.00

                                                                                            Subtotal                   $669,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $223,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $223,200.00.
82 MARTINEZ CAMACHO, GERALDO                37932        Commonwealth of Puerto Rico        503(b)(9)                   $64,000.00 Commonwealth of Puerto Rico           Unsecured                   $64,000.00
   HC 02 BOX 48607
   VEGA BAJA, PR 00693                                   Commonwealth of Puerto Rico        Secured                     $64,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $64,000.00

                                                                                            Subtotal                   $192,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $64,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $64,000.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 21 of 45
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                                                                 Exhibit A Page 23 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
83 MARTINEZ JOFFRE, ALICIA M                27305        Commonwealth of Puerto Rico        503(b)(9)                  $115,200.00 Commonwealth of Puerto Rico           Unsecured                  $115,200.00
   COND. LOS CANTIZALES
   EDIF.II APT.4-H                                       Commonwealth of Puerto Rico        Secured                    $115,200.00
   SAN JUAN, PR 00926
                                                         Commonwealth of Puerto Rico        Unsecured                  $115,200.00

                                                                                            Subtotal                   $345,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $115,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $115,200.00.
84 MARTINEZ MENDOZA, ERIDANA                85369        Commonwealth of Puerto Rico        503(b)(9)                   $14,400.00 Commonwealth of Puerto Rico           Unsecured                   $14,400.00
   PO BOX 7413
   SAN JUAN, PR 00916-7413                               Commonwealth of Puerto Rico        Secured                     $14,400.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $14,400.00

                                                                                            Subtotal                    $43,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $14,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $14,400.00.
85 MARTINEZ TORO, ANGEL                     83067        Commonwealth of Puerto Rico        503(b)(9)                 $180,000.00* Commonwealth of Puerto Rico           Unsecured                 $180,000.00*
   LCDO. JESUS M. JIMENEZ
   APARTADO 3025                                         Commonwealth of Puerto Rico        Secured                   $180,000.00*
   GUAYAMA, PR 00785
                                                                                            Subtotal                  $360,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $180,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $180,000.00.
86 MEDINA NAVEDO, EDWIN                     17682^       Commonwealth of Puerto Rico        503(b)(9)                 $151,200.00* Commonwealth of Puerto Rico           Unsecured                 $151,200.00*
   URB.FRONTERA C/JULIO ALVARADO
   #139                                                  Commonwealth of Puerto Rico        Secured                   $151,200.00*
   BAYAMON, PR 00619
                                                                                            Subtotal                  $302,400.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $151,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $151,200.00.
   ^ Claim #17682 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 22 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 24 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
87 MEDINA RAMOS, DAMARIS                    120929       Commonwealth of Puerto Rico        503(b)(9)                  $75,600.00* Commonwealth of Puerto Rico           Unsecured                  $75,600.00*
   24980 CARRETERA 437
   QUEBRADILLAS, PR 00678                                Commonwealth of Puerto Rico        Secured                    $75,600.00*

                                                                                            Subtotal                  $151,200.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $75,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $75,600.00.
88 MEDINA REMIREZ, DORIS MABEL              36012        Commonwealth of Puerto Rico        503(b)(9)                   $64,800.00 Commonwealth of Puerto Rico           Unsecured                   $64,800.00
   CALLE DR ESTEBAN DE ROSA
   BW 6                                                  Commonwealth of Puerto Rico        Secured                     $64,800.00
   5 SECCION LEVITTOWN
   TOA BAJA, PR 00949                                    Commonwealth of Puerto Rico        Unsecured                   $64,800.00

                                                                                            Subtotal                   $194,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $64,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $64,800.00.
89 MELENDEZ ALVARADO, BETTY                 124594^      Commonwealth of Puerto Rico        503(b)(9)                  $127,800.00 Commonwealth of Puerto Rico           Unsecured                  $127,800.00
   BUZON 206 URB. SIERRA REAL
   CAYEY, PR 00736-9004                                  Commonwealth of Puerto Rico        Secured                    $127,800.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $127,800.00

                                                                                            Subtotal                   $383,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $127,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $127,800.00.
   ^ Claim #124594 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

90 MELENDEZ, SANTIAGO NUNEZ                 31418^       Commonwealth of Puerto Rico        503(b)(9)                 $163,800.00* Commonwealth of Puerto Rico           Unsecured                 $163,800.00*
   RR-37 BOX 5140 CALLE ROMANY
   SAN JUAN, PR 00926                                    Commonwealth of Puerto Rico        Secured                   $163,800.00*

                                                         Commonwealth of Puerto Rico        Unsecured                 $163,800.00*

                                                                                            Subtotal                  $491,400.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $163,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $163,800.00.
   ^ Claim #31418 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims



   * Indicates claim contains unliquidated and/or undetermined amounts
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                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 25 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
91 MIRANDA QUINONES, MYRNA L                25688        Commonwealth of Puerto Rico        503(b)(9)                  $201,600.00 Commonwealth of Puerto Rico           Unsecured                  $201,600.00
   PO BOX 1746
   TOA BAJA, PR 00951-1746                               Commonwealth of Puerto Rico        Secured                    $201,600.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $201,600.00

                                                                                            Subtotal                   $604,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $201,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $201,600.00.
92 MOJICA BULTRON, SONIA M                  44400        Commonwealth of Puerto Rico        503(b)(9)                   $92,690.00 Commonwealth of Puerto Rico           Unsecured                   $92,690.00
   P O BOX 3026
   BAYAMON, PR 00960                                     Commonwealth of Puerto Rico        Secured                     $92,690.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $92,690.00

                                                                                            Subtotal                   $278,070.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $92,690.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $92,690.00.
93 MOJICA BULTRON, SONIA M.                 27930^       Commonwealth of Puerto Rico        503(b)(9)                  $165,600.00 Commonwealth of Puerto Rico           Unsecured                  $165,600.00
   PO BOX 3026
   BAYAMON, PR 00960                                     Commonwealth of Puerto Rico        Secured                    $165,600.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $165,600.00

                                                                                            Subtotal                   $496,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $165,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $165,600.00.
   ^ Claim #27930 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

94 MOLINA FERRER, MARIA C                   43315^       Commonwealth of Puerto Rico        503(b)(9)                  $122,400.00 Commonwealth of Puerto Rico           Unsecured                  $122,400.00
   CALLE 115 BP-10 JARD DE COUNTRY
   CLUB                                                  Commonwealth of Puerto Rico        Secured                    $122,400.00
   CAROLINA, PR 00983
                                                         Commonwealth of Puerto Rico        Unsecured                  $122,400.00

                                                                                            Subtotal                   $367,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $122,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $122,400.00.
   ^ Claim #43315 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 24 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 26 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
   NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
95 MORALES COLON, ROSANA                    78005        Commonwealth of Puerto Rico        503(b)(9)                   $57,600.00 Commonwealth of Puerto Rico           Unsecured                   $57,600.00
   C/410 BLQ 143
   #20 VILLA CAROLINA                                    Commonwealth of Puerto Rico        Secured                     $57,600.00
   CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                   $57,600.00

                                                                                            Subtotal                   $172,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $57,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $57,600.00.
96 MORALES COLON, VILMARIE                  20553        Commonwealth of Puerto Rico        503(b)(9)                  $108,000.00 Commonwealth of Puerto Rico           Unsecured                  $108,000.00
   VILLA CAROLINA
   BLQ 143 20 CALLE 410                                  Commonwealth of Puerto Rico        Secured                    $108,000.00
   CAROLINA, PR 00985
                                                         Commonwealth of Puerto Rico        Unsecured                  $108,000.00

                                                                                            Subtotal                   $324,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $108,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $108,000.00.
97 MORALES ENCARNACION, HOMERO 67537                     Commonwealth of Puerto Rico        503(b)(9)                 $122,400.00* Commonwealth of Puerto Rico           Unsecured                 $122,400.00*
   313 MIRADORES DEL YUNGUE
   RIO GRANDE, PR 00745                                  Commonwealth of Puerto Rico        Secured                   $122,400.00*

                                                                                            Subtotal                  $244,800.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $122,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $122,400.00.
98 MUNOZ LOPEZ, TANIA M.                    51184        Commonwealth of Puerto Rico        503(b)(9)                  $129,600.00 Commonwealth of Puerto Rico           Unsecured                  $129,600.00
   COND. PORTALES DE SAN JUAN
   APT B-110 RIO PIEDRAS                                 Commonwealth of Puerto Rico        Secured                    $129,600.00
   SAN JUAN, PR 00924
                                                         Commonwealth of Puerto Rico        Unsecured                  $129,600.00

                                                                                            Subtotal                   $388,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $129,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $129,600.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 25 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 27 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
99 MUSSENDEN MIRANDA, IVELISSE              28731        Commonwealth of Puerto Rico        503(b)(9)                   $72,000.00 Commonwealth of Puerto Rico           Unsecured                   $72,000.00
    URB PARQUE FLAMINGO
    94 CALLE PARTENON                                    Commonwealth of Puerto Rico        Secured                     $72,000.00
    BAYAMON, PR 00959
                                                         Commonwealth of Puerto Rico        Unsecured                   $72,000.00

                                                                                            Subtotal                   $216,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $72,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $72,000.00.
100 NANGO LASSALLE, EPIFANIO                120735^      Commonwealth of Puerto Rico        503(b)(9)                  $122,400.00 Commonwealth of Puerto Rico           Unsecured                  $122,400.00
    3000 MARGINAL BALDORIOTY APT
    11-K COND INTERSUITES                                Commonwealth of Puerto Rico        Secured                    $122,400.00
    CAROLINA, PR 00979
                                                         Commonwealth of Puerto Rico        Unsecured                  $122,400.00

                                                                                            Subtotal                   $367,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $122,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $122,400.00.
   ^ Claim #120735 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

101 NAVARRO CANCEL, IVELISSE                28171        Commonwealth of Puerto Rico        503(b)(9)                  $204,600.00 Commonwealth of Puerto Rico           Unsecured                  $204,600.00
    URB LAS LOMAS
    SO1686 CALLE 34                                      Commonwealth of Puerto Rico        Secured                    $204,600.00
    SAN JUAN, PR 00921
                                                         Commonwealth of Puerto Rico        Unsecured                  $204,600.00

                                                                                            Subtotal                   $613,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $204,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $204,600.00.
102 NAVARRO ROSARIO, ELIS N.                31601        Commonwealth of Puerto Rico        503(b)(9)                  $171,000.00 Commonwealth of Puerto Rico           Unsecured                  $171,000.00
    COND VILLAS DEL GIGANTE
    500 CALLE PASEO REAL                                 Commonwealth of Puerto Rico        Secured                    $171,000.00
    APT520
    CAROLINA, PR 00987                                   Commonwealth of Puerto Rico        Unsecured                  $171,000.00

                                                                                            Subtotal                   $513,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $171,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $171,000.00.



   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 26 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 28 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
103 NAZARIO TORRES, HELGA                   66344        Commonwealth of Puerto Rico        503(b)(9)                  $136,800.00 Commonwealth of Puerto Rico           Unsecured                  $136,800.00
    PO BOX 815
    CIDRA, PR 00739-0815                                 Commonwealth of Puerto Rico        Secured                    $136,800.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $136,800.00

                                                                                            Subtotal                   $410,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $136,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $136,800.00.
104 NEGRON LOPEZ, MILAGROS                  80812        Commonwealth of Puerto Rico        503(b)(9)                 $180,000.00* Commonwealth of Puerto Rico           Unsecured                 $180,000.00*
    84 CALLE POPULAR
    SAN JUAN, PR 00917                                   Commonwealth of Puerto Rico        Secured                   $180,000.00*

                                                                                            Subtotal                  $360,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $180,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $180,000.00.
105 NEGRON MILLAN, YVONNE                   27083^       Commonwealth of Puerto Rico        503(b)(9)                  $129,600.00 Commonwealth of Puerto Rico           Unsecured                  $129,600.00
    SANTA MARIA MAYOR
    A 10 CALLE 19                                        Commonwealth of Puerto Rico        Secured                    $129,600.00
    HUMACAO, PR 00791
                                                         Commonwealth of Puerto Rico        Unsecured                  $129,600.00

                                                                                            Subtotal                   $388,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $129,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $129,600.00.
   ^ Claim #27083 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #27083 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
106 NIEVES RIVERA, ANGEL                    66309        Commonwealth of Puerto Rico        503(b)(9)                 $216,000.00* Commonwealth of Puerto Rico           Unsecured                 $216,000.00*
    URB. DORADO DEL MAR
    H 04 CALLE PELICANO                                  Commonwealth of Puerto Rico        Secured                   $216,000.00*
    DORADO, PR 00646
                                                                                            Subtotal                  $432,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $216,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $216,000.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 27 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 29 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
107 OLIVERO FILOMENO, JOSIAN                26262        Commonwealth of Puerto Rico        503(b)(9)                  $100,800.00 Commonwealth of Puerto Rico           Unsecured                  $100,800.00
    URB PARQUE ECUESTRE
    L 23 CALLE THE KID                                   Commonwealth of Puerto Rico        Secured                    $100,800.00
    CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                  $100,800.00

                                                                                            Subtotal                   $302,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,800.00.
108 ORTA ROMERO, MARITZA I                  23067        Commonwealth of Puerto Rico        503(b)(9)                  $129,600.00 Commonwealth of Puerto Rico           Unsecured                  $129,600.00
    213 CALLE TAPIA
    SAN JUAN, PR 00911                                   Commonwealth of Puerto Rico        Secured                    $129,600.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $129,600.00

                                                                                            Subtotal                   $388,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $129,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $129,600.00.
109 ORTIZ MORALES, YOLANDA                  106248       Commonwealth of Puerto Rico        503(b)(9)                 $100,800.00* Commonwealth of Puerto Rico           Unsecured                 $100,800.00*
    URB. LA COSTA GARDENS HOMES
    188 CALLE ORQUIDEA                                   Commonwealth of Puerto Rico        Secured                   $100,500.00*
    FAJARDO, PR 00738
                                                         Commonwealth of Puerto Rico        Unsecured                 $100,500.00*

                                                                                            Subtotal                  $301,800.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,800.00.
110 ORTIZ RIVERA, JULIO ANGEL               171582       Commonwealth of Puerto Rico        503(b)(9)                     $4,984.00 Commonwealth of Puerto Rico          Unsecured                     $4,984.00
    371/2 PARK ST APT B
    VERNON, CT 06066                                     Commonwealth of Puerto Rico        Secured                       $4,984.00

                                                         Commonwealth of Puerto Rico        Unsecured                     $4,984.00

                                                                                            Subtotal                    $14,952.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $4,984.00. Accordingly, claim has been reclassified in whole as a general unsecured
   claim in the amount of $4,984.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 28 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
111 ORTIZ RODRIGUEZ, GLORIA I.              48014        Commonwealth of Puerto Rico        503(b)(9)                  $100,800.00 Commonwealth of Puerto Rico           Unsecured                  $100,800.00
    SABANA GARDENS
    2-2 CALLE 5                                          Commonwealth of Puerto Rico        Secured                    $100,800.00
    CAROLINA, PR 00983
                                                         Commonwealth of Puerto Rico        Unsecured                  $100,800.00

                                                                                            Subtotal                   $302,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,800.00.
112 ORTIZ SANCHEZ, FABIAN                   29483        Commonwealth of Puerto Rico        503(b)(9)                  $216,000.00 Commonwealth of Puerto Rico           Unsecured                  $216,000.00
    VILLA CAROLINA 5TA EXT
    188 6 CALLE 517                                      Commonwealth of Puerto Rico        Secured                    $216,000.00
    CAROLINA, PR 00985
                                                         Commonwealth of Puerto Rico        Unsecured                  $216,000.00

                                                                                            Subtotal                   $648,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $216,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $216,000.00.
113 PADIN MARTINEZ, IRIS REBECCA            34262        Commonwealth of Puerto Rico        503(b)(9)                   $36,000.00 Commonwealth of Puerto Rico           Unsecured                   $36,000.00
    M-11 CALLE SENDA DE LA ROSADA
    URB. QUINTAS DEL RIO                                 Commonwealth of Puerto Rico        Secured                     $36,000.00
    BAYAMON, PR 00961
                                                         Commonwealth of Puerto Rico        Unsecured                   $36,000.00

                                                                                            Subtotal                   $108,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $36,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $36,000.00.
114 PENALOZA CLEMENTE, CARMEN               82981        Commonwealth of Puerto Rico        503(b)(9)                   $43,200.00 Commonwealth of Puerto Rico           Unsecured                   $43,200.00
    APT 2002 CALLE 310 FORTUNATO
    VIZCARRONDO                                          Commonwealth of Puerto Rico        Secured                     $43,200.00
    CAROLINA, PR 00985
                                                         Commonwealth of Puerto Rico        Unsecured                   $43,200.00

                                                                                            Subtotal                   $129,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $43,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $43,200.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 29 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
115 PEREZ PENALOZA, ZHADYA P                45764^       Commonwealth of Puerto Rico        503(b)(9)                   $20,059.92 Commonwealth of Puerto Rico           Unsecured                   $20,059.92
    RR 2 BOX 252
    CAROLINA, PR 00987                                   Commonwealth of Puerto Rico        Secured                     $20,059.92

                                                         Commonwealth of Puerto Rico        Unsecured                   $20,059.92

                                                                                            Subtotal                    $60,179.76

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $20,059.92. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $20,059.92.
   ^ Claim #45764 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #45764 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
116 PEREZ PENALOZA, ZHADYA P                25578^       Commonwealth of Puerto Rico        503(b)(9)                  $50,400.00* Commonwealth of Puerto Rico           Unsecured                  $50,400.00*
    RR 2 BOX 252
    CAROLINA, PR 00987                                   Commonwealth of Puerto Rico        Secured                    $50,400.00*

                                                         Commonwealth of Puerto Rico        Unsecured                  $50,400.00*

                                                                                            Subtotal                  $151,200.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $50,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $50,400.00.
   ^ Claim #25578 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

117 PEREZ TORRES, ANGEL                     25432        Commonwealth of Puerto Rico        503(b)(9)                   $50,400.00 Commonwealth of Puerto Rico           Unsecured                   $50,400.00
    PASEO CLARO 3226
    3RA. SECCIN LEVITTOWN                                Commonwealth of Puerto Rico        Secured                     $50,400.00
    TOA BAJA, PR 00949
                                                         Commonwealth of Puerto Rico        Unsecured                   $50,400.00

                                                                                            Subtotal                   $151,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $50,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $50,400.00.
118 PEREZ TORRES, JENNIFER E                19846        Commonwealth of Puerto Rico        503(b)(9)                   $79,200.00 Commonwealth of Puerto Rico           Unsecured                   $79,200.00
    URB LAS GOVIOTAS
    E 23 CALLE REAL                                      Commonwealth of Puerto Rico        Secured                     $79,200.00
    TOA BAJA, PR 00949
                                                         Commonwealth of Puerto Rico        Unsecured                   $79,200.00

                                                                                            Subtotal                   $237,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $79,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $79,200.00.
   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                            Page 30 of 45
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
119 PIZARRO CASTRO, MARIBEL                 29982^       Commonwealth of Puerto Rico        503(b)(9)                 $151,200.00* Commonwealth of Puerto Rico           Unsecured                 $151,200.00*
    URB ROSA MARIA
    E 23 CALLE 4                                         Commonwealth of Puerto Rico        Secured                   $151,200.00*
    CAROLINA, PR 00985
                                                                                            Subtotal                  $302,400.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $151,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $151,200.00.
   ^ Claim #29982 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

120 QUINONES PEREZ, CARMEN                  87658        Commonwealth of Puerto Rico        503(b)(9)                   $90,600.00 Commonwealth of Puerto Rico           Unsecured                   $90,600.00
    C/ LINCE #780 DOS PINOS
    SAN JUAN, PR 00923                                   Commonwealth of Puerto Rico        Secured                     $90,600.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $90,600.00

                                                                                            Subtotal                   $271,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $90,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $90,600.00.
121 RAMOS CARRILLO, JAVIER A                14972        Commonwealth of Puerto Rico        503(b)(9)                  $43,200.00* Commonwealth of Puerto Rico           Unsecured                  $43,200.00*
    CALLE JERUZALEM 438
    SABANA LLANA                                         Commonwealth of Puerto Rico        Secured                    $43,200.00*
    RIO PIEDRAS
    SAN JUAN, PR 00924                                                                      Subtotal                   $86,400.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $43,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $43,200.00.
122 REY GONZALEZ, MARIA DEL R.              124193       Commonwealth of Puerto Rico        503(b)(9)                  $21,600.00* Commonwealth of Puerto Rico           Unsecured                  $21,600.00*
    7000 CARR. 844 APT. 173
    SAN JUAN, PR 00926                                   Commonwealth of Puerto Rico        Secured                    $21,600.00*

                                                                                            Subtotal                   $43,200.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $21,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $21,600.00.
123 REYES CAPPOBIANCO, ANA ESTHER 81666^                 Commonwealth of Puerto Rico        503(b)(9)                   $35,894.04 Commonwealth of Puerto Rico           Unsecured                   $35,894.04
    URB. PARQUE ECUESTRIE CALLE
    EL TITAN H-7                                         Commonwealth of Puerto Rico        Secured                     $35,894.04
    CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                   $35,894.04

                                                                                            Subtotal                   $107,682.12

   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 31 of 45
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                                                                 Exhibit A Page 33 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $35,894.04. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $35,894.04.
   ^ Claim #81666 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims

124 REYES CAPPOBIANCO, ANA ESTHER 51051                  Commonwealth of Puerto Rico        503(b)(9)                  $158,400.00 Commonwealth of Puerto Rico           Unsecured                  $158,400.00
    URB. PARQUE ECUUSTRA CALLE EL
    TITAN H-7                                            Commonwealth of Puerto Rico        Secured                    $158,400.00
    CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                  $158,400.00

                                                                                            Subtotal                   $475,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $158,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $158,400.00.
125 REYES GONZALEZ, RAMON ELIAS             34384        Commonwealth of Puerto Rico        503(b)(9)               Undetermined* Commonwealth of Puerto Rico            Unsecured                  $72,000.00*
    HC-12 BOX 111
    HUMACAO, PR 00791                                    Commonwealth of Puerto Rico        Secured                    $72,000.00*

                                                         Commonwealth of Puerto Rico        Unsecured                  $72,000.00*

                                                                                            Subtotal                  $144,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $72,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $72,000.00.
126 REYES ROSARIO, MARIA M                  38605        Commonwealth of Puerto Rico        503(b)(9)                  $223,200.00 Commonwealth of Puerto Rico           Unsecured                  $223,200.00
    BO. BUEN CONSEJO CALLE VALLEJO
    1226                                                 Commonwealth of Puerto Rico        Secured                    $223,200.00
    SAN JUAN, PR 00926
                                                                                            Subtotal                   $446,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $223,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $223,200.00.
127 RIOS JIMENEZ, IVAN                      105171       Commonwealth of Puerto Rico        503(b)(9)                 $158,400.00* Commonwealth of Puerto Rico           Unsecured                 $158,400.00*
    HC 2 BOX 14684
    CAROLINA, PR 00987-9722                              Commonwealth of Puerto Rico        Secured                   $158,400.00*

                                                                                            Subtotal                  $316,800.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $158,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $158,400.00.



   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 32 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 34 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
128 RIVERA CENTENO , IVETTE                 24752^       Commonwealth of Puerto Rico        503(b)(9)                  $106,200.00 Commonwealth of Puerto Rico           Unsecured                  $106,200.00
    URB ROLLING HILLS
    C91 C BRASIL                                         Commonwealth of Puerto Rico        Secured                    $106,200.00
    CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                  $106,200.00

                                                                                            Subtotal                   $318,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $106,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $106,200.00.
   ^ Claim #24752 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

129 RIVERA COLON, NACHELYN M.               84114        Commonwealth of Puerto Rico        503(b)(9)                   $21,600.00 Commonwealth of Puerto Rico           Unsecured                   $21,600.00
    PO BOX 550
    CANOVANAS, PR 00729                                  Commonwealth of Puerto Rico        Secured                     $21,600.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $21,600.00

                                                                                            Subtotal                    $64,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $21,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $21,600.00.
130 RIVERA GONZALEZ, MINELLIE               49405        Commonwealth of Puerto Rico        503(b)(9)                  $100,800.00 Commonwealth of Puerto Rico           Unsecured                  $100,800.00
    HD-25 CALLE 221
    URB. COUNTRY CLUB                                    Commonwealth of Puerto Rico        Secured                    $100,800.00
    CAROLINA, PR 00982
                                                         Commonwealth of Puerto Rico        Unsecured                  $100,800.00

                                                                                            Subtotal                   $302,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,800.00.
131 RIVERA HERNANDEZ, ZAIDA                 31837^       Commonwealth of Puerto Rico        503(b)(9)                   $93,600.00 Commonwealth of Puerto Rico           Unsecured                   $93,600.00
    LOMAS VERDES
    4417 YAGRUMO                                         Commonwealth of Puerto Rico        Secured                     $93,600.00
    BAYAMON, PR 00956
                                                         Commonwealth of Puerto Rico        Unsecured                   $93,600.00

                                                                                            Subtotal                   $280,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $93,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $93,600.00.
   ^ Claim #31837 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 33 of 45
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                                                                  Exhibit A Page 35 of 46
                                                     Three Hundred and Forty-Seventh Omnibus Objection
                                                            Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                     CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                          DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                        STATUS
132 RIVERA NEGRON, XAVIER A                 122423       Commonwealth of Puerto Rico         503(b)(9)                   $64,800.00 Commonwealth of Puerto Rico           Unsecured                   $64,800.00
    BDA LAS MONJAS
    107 C PEPE DIAZ                                      Commonwealth of Puerto Rico         Secured                     $64,800.00
    SAN JUAN, PR 00917
                                                         Commonwealth of Puerto Rico         Unsecured                   $64,800.00

                                                                                             Subtotal                   $194,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $64,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $64,800.00.
133 RIVERA PEREZ, ROSA A.                   82998        Commonwealth of Puerto Rico         503(b)(9)                  $104,400.00 Commonwealth of Puerto Rico           Unsecured                  $104,400.00
    URB. QUINTAS DE CANOVANAS
    C/4 # 441                                            Commonwealth of Puerto Rico         Secured                    $104,400.00
    CANOVANAS, PR 00729
                                                         Commonwealth of Puerto Rico         Unsecured                  $104,400.00

                                                                                             Subtotal                   $313,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $104,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $104,400.00.
134 RIVERA RIVAS, ARMANDO                   33403        Commonwealth of Puerto Rico         503(b)(9)                  $44,279.43* Commonwealth of Puerto Rico           Unsecured                  $44,279.43*
    DAVID F. CASTILLO HERRERA
    1506 PASEO FAGOT SUITE #3                            Commonwealth of Puerto Rico         Unsecured                  $44,279.43*
    PONCE, PR 00716-2302
                                                                                             Subtotal                   $88,558.86*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. In addition, claimant
   asserted a total claim amount of $44,279.43. Accordingly, claim has been reclassified in whole as a general unsecured claim in the amount of $44,279.43.
135 RIVERA SANTOS, NILSA M.                 29513^       Commonwealth of Puerto Rico         503(b)(9)                  $144,000.00 Commonwealth of Puerto Rico           Unsecured                  $144,000.00
    313 PLEIADOS DEL YUNQUE
    RIO GRANDE, PR 00745                                 Commonwealth of Puerto Rico         Secured                    $144,000.00

                                                         Commonwealth of Puerto Rico         Unsecured                  $144,000.00

                                                                                             Subtotal                   $432,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $144,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $144,000.00.
   ^ Claim #29513 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims




   * Indicates claim contains unliquidated and/or undetermined amounts
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
136 RIVERA VILLEGAS, KARLA M.               35509        Commonwealth of Puerto Rico        503(b)(9)                   $64,800.00 Commonwealth of Puerto Rico           Unsecured                   $64,800.00
    URB. LOS DOMINICOS
    CALLE SAN MATEO A-8                                  Commonwealth of Puerto Rico        Secured                     $64,800.00
    BAYAMON, PR 00957
                                                         Commonwealth of Puerto Rico        Unsecured                   $64,800.00

                                                                                            Subtotal                   $194,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $64,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $64,800.00.
137 RODRIGUEZ ALVARADO, HILDA I.            34843        Commonwealth of Puerto Rico        503(b)(9)                   $93,600.00 Commonwealth of Puerto Rico           Unsecured                   $93,600.00
    #500 GUAYANILLA COND.
    TOWNHOUSE APT 806                                    Commonwealth of Puerto Rico        Secured                     $93,600.00
    SAN JUAN, PR 00923
                                                         Commonwealth of Puerto Rico        Unsecured                   $93,600.00

                                                                                            Subtotal                   $280,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $93,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $93,600.00.
138 RODRIGUEZ CARDI, ENEROLIZA              27607^       Commonwealth of Puerto Rico        503(b)(9)                   $53,730.48 Commonwealth of Puerto Rico           Unsecured                   $53,730.48
    CALLE RAFAEL ALONZO TORRES
    #1765                                                Commonwealth of Puerto Rico        Secured                     $53,730.48
    SAN JUAN, PR 00921
                                                         Commonwealth of Puerto Rico        Unsecured                   $53,730.48

                                                                                            Subtotal                   $161,191.44

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $53,730.48. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $53,730.48.
   ^ Claim #27607 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #27607 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
139 RODRIGUEZ CARDI, ENEROLIZA              31424^       Commonwealth of Puerto Rico        503(b)(9)                 $230,400.00* Commonwealth of Puerto Rico           Unsecured                 $230,400.00*
    CALLE RAFAEL ALONZO TORRES
    #1765                                                Commonwealth of Puerto Rico        Secured                   $230,400.00*
    SAN JUAN, PR 00921
                                                         Commonwealth of Puerto Rico        Unsecured                 $230,400.00*

                                                                                            Subtotal                  $691,200.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $230,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $230,400.00.
   ^ Claim #31424 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims
   * Indicates claim contains unliquidated and/or undetermined amounts
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                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
140 RODRIGUEZ CASELLAS, ZINA                31313        Commonwealth of Puerto Rico        503(b)(9)                  $100,800.00 Commonwealth of Puerto Rico           Unsecured                  $100,800.00
    URB PARQUE ECUESTRE
    L 23 THE KID                                         Commonwealth of Puerto Rico        Secured                    $100,800.00
    CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                  $100,800.00

                                                                                            Subtotal                   $302,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,800.00.
141 RODRIGUEZ CASTRO, ERICK                 74159        Commonwealth of Puerto Rico        503(b)(9)                  $108,000.00 Commonwealth of Puerto Rico           Unsecured                  $108,000.00
    HC-01 BOX 11648
    CAROLINA, PR 00985                                   Commonwealth of Puerto Rico        Secured                    $108,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $108,000.00

                                                                                            Subtotal                   $324,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $108,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $108,000.00.
142 RODRIGUEZ CEDENO, JOSE M                6296         Commonwealth of Puerto Rico        503(b)(9)                   $75,000.00 Commonwealth of Puerto Rico           Unsecured                   $75,000.00
    PO BOX 7126
    PONCE, PR 00732                                      Commonwealth of Puerto Rico        Secured                     $75,000.00

                                                                                            Subtotal                   $150,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $75,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $75,000.00.
143 RODRIGUEZ COLON, JOSE ALBERTO 14950                  Commonwealth of Puerto Rico        503(b)(9)                  $108,000.00 Commonwealth of Puerto Rico           Unsecured                  $108,000.00
    URB. VILLAS DE CANEY I16 C/
    GUARIONEX                                            Commonwealth of Puerto Rico        Secured                    $108,000.00
    TRUJILLO ALTO, PR 00976
                                                                                            Subtotal                   $216,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $108,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $108,000.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 36 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 38 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
144 RODRIGUEZ MELENDEZ, JOSE M.             2535         Puerto Rico Highways and           503(b)(9)               Undetermined* Puerto Rico Highways and               Unsecured                 $143,410.00*
    URB. VILLA FONTANA                                   Transportation Authority                                                 Transportation Authority
    VIA 63 3K-N1
    CAROLINA, PR 00983                                   Puerto Rico Highways and           Secured                   $143,410.00*
                                                         Transportation Authority
                                                         Puerto Rico Highways and           Unsecured                 $143,410.00*
                                                         Transportation Authority
                                                                                            Subtotal                  $286,820.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $143,410.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $143,410.00.
145 RODRIGUEZ OLIVERAS, MIRIAM              20526^       Commonwealth of Puerto Rico        503(b)(9)                  $164,400.00 Commonwealth of Puerto Rico           Unsecured                  $164,400.00
    CALLE 129 BX-27 JARDINES DE
    COUNTRY CLUB                                         Commonwealth of Puerto Rico        Secured                    $164,400.00
    CAROLINA, PR 00985
                                                         Commonwealth of Puerto Rico        Unsecured                  $164,400.00

                                                                                            Subtotal                   $493,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $164,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $164,400.00.
   ^ Claim #20526 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

146 RODRIQUEZ CALDERON, LEYKA M.            79166        Commonwealth of Puerto Rico        503(b)(9)                   $36,000.00 Commonwealth of Puerto Rico           Unsecured                   $36,000.00
    HC 02 BOX 7422
    PINONES LOIZA, PR 00772                              Commonwealth of Puerto Rico        Secured                     $36,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                   $36,000.00

                                                                                            Subtotal                   $108,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $36,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $36,000.00.
147 ROMAN DIAZ, JORGE                       33532        Commonwealth of Puerto Rico        503(b)(9)                   $93,600.00 Commonwealth of Puerto Rico           Unsecured                   $93,600.00
    URB LOMA ALTA
    E 6 CALLE 1                                          Commonwealth of Puerto Rico        Secured                     $93,600.00
    CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                   $93,600.00

                                                                                            Subtotal                   $280,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $93,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $93,600.00.

   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 37 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 39 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
148 ROSA RUIZ, RAQUEL                       35838        Commonwealth of Puerto Rico        503(b)(9)                  $29,000.00* Commonwealth of Puerto Rico           Unsecured                  $29,000.00*
    URB ALTAMESA
    1661 CALLE SANTA MONICA                              Commonwealth of Puerto Rico        Secured                    $29,000.00*
    SAN JUAN, PR 00921-4320
                                                                                            Subtotal                   $58,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $29,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $29,000.00.
149 ROSARIO ALVAREZ, YOLANDA                22480        Commonwealth of Puerto Rico        503(b)(9)                  $100,800.00 Commonwealth of Puerto Rico           Unsecured                  $100,800.00
    URB METROPOLIS
    41 2P27                                              Commonwealth of Puerto Rico        Secured                    $100,800.00
    CAROLINA, PR 00987
                                                         Commonwealth of Puerto Rico        Unsecured                  $100,800.00

                                                                                            Subtotal                   $302,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,800.00.
150 ROSARIO ALVAREZ, YOLANDA                25824^       Commonwealth of Puerto Rico        503(b)(9)                   $95,782.80 Commonwealth of Puerto Rico           Unsecured                   $95,782.80
    URB METROPOLIS
    2 P 27 CALLE 41                                      Commonwealth of Puerto Rico        Secured                     $95,782.80
    CAROLINA, PR 00987
                                                                                            Subtotal                   $191,565.60

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $95,782.80. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $95,782.80.
   ^ Claim #25824 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims

151 RUIZ GUADARRAMA, ARNOLD D               12256        Commonwealth of Puerto Rico        503(b)(9)                 $856,620.00* Commonwealth of Puerto Rico           Unsecured                 $856,620.00*
    URB MARIOLGA
    H 9 CALLE SAN BERNARDO                               Commonwealth of Puerto Rico        Secured                   $856,620.00*
    CAGUAS, PR 00725
                                                         Commonwealth of Puerto Rico        Unsecured               Undetermined*

                                                                                            Subtotal                $1,713,240.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $856,620. Accordingly, claim has been reclassified in whole as a general unsecured
   claim in the amount of $856,620.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 38 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 40 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
152 RUIZ RIVERA, NILDA                      34885        Commonwealth of Puerto Rico        503(b)(9)                   $64,800.00 Commonwealth of Puerto Rico           Unsecured                   $64,800.00
    2DA EXT SANTA ELENA
    C 15 CALLE GIRASOL                                   Commonwealth of Puerto Rico        Secured                     $64,800.00
    GUAYANILLA, PR 00656
                                                         Commonwealth of Puerto Rico        Unsecured                   $64,800.00

                                                                                            Subtotal                   $194,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $64,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $64,800.00.
153 SALAS UGARTE, JUAN                      128149       Commonwealth of Puerto Rico        503(b)(9)                 $136,800.00* Commonwealth of Puerto Rico           Unsecured                 $136,800.00*
    LA MONJAS
    84 C/ POPULAR                                        Commonwealth of Puerto Rico        Secured                   $136,800.00*
    SAN JUAN, PR 00917
                                                                                            Subtotal                  $273,600.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $136,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $136,800.00.
154 SALDANA BETANCOURT, VIVIAN              109400       Commonwealth of Puerto Rico        503(b)(9)                   $93,600.00 Commonwealth of Puerto Rico           Unsecured                   $93,600.00
    HC04 BOX 8614
    BO CUBUY                                             Commonwealth of Puerto Rico        Secured                     $93,600.00
    CANOVANAS, PR 00729
                                                                                            Subtotal                   $187,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $93,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $93,600.00.
155 SANCHEZ RAMOS, CARMEN A                 25014        Commonwealth of Puerto Rico        503(b)(9)                   $8,000.00* Commonwealth of Puerto Rico           Unsecured                   $8,000.00*
    BO CAMPANILLAS
    172 C/ IGLESIAS                                      Commonwealth of Puerto Rico        Secured                     $8,000.00*
    TOA BAJA, PR 00949
                                                         Commonwealth of Puerto Rico        Unsecured                   $8,000.00*

                                                                                            Subtotal                   $24,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $8,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $8,000.00.
156 SANTIAGO DIAZ, EVELYN                   35757        Commonwealth of Puerto Rico        Secured                     $45,000.00 Commonwealth of Puerto Rico           Unsecured                   $45,000.00
    VIA 3 2LR 621
    VILLA FONTANA                                        Commonwealth of Puerto Rico        Unsecured                   $45,000.00
    CAROLINA, PR 00983
                                                                                            Subtotal                    $90,000.00

   Reason: The claimant failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $45,000.00. Accordingly, claim has been reclassified in whole
   as a general unsecured claim in the amount of $45,000.00.
   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                        Page 39 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 41 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
157 SANTIAGO ECHEVARRIA, ISMAEL             61232        Commonwealth of Puerto Rico        503(b)(9)                  $30,000.00* Commonwealth of Puerto Rico           Unsecured                  $30,000.00*
    PO BOX 1097
    PATILLAS, PR 00723                                   Commonwealth of Puerto Rico        Secured                    $30,000.00*

                                                                                            Subtotal                   $60,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $30,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $30,000.00.
158 SANTIAGO FALERO, LORIANNE               112161       Commonwealth of Puerto Rico        503(b)(9)                  $14,400.00* Commonwealth of Puerto Rico           Unsecured                  $14,400.00*
    COOP VIVENDAS ROLLING HILLS
    BUZON 152 APTO G 8                                   Commonwealth of Puerto Rico        Secured                    $14,400.00*
    CAROLINA, PR 00987
                                                                                            Subtotal                   $28,800.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $14,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $14,400.00.
159 SANTIAGO SERRANO, MADELINE              25012        Commonwealth of Puerto Rico        503(b)(9)                  $115,200.00 Commonwealth of Puerto Rico           Unsecured                  $115,200.00
    COND WHITE TOWER
    APT 511                                              Commonwealth of Puerto Rico        Secured                    $115,200.00
    SAN JUAN, PR 00921
                                                         Commonwealth of Puerto Rico        Unsecured                  $115,200.00

                                                                                            Subtotal                   $345,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $115,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $115,200.00.
160 SCHMITH, ASTRID                         29518        Commonwealth of Puerto Rico        503(b)(9)                  $165,600.00 Commonwealth of Puerto Rico           Unsecured                  $165,600.00
    CALLE 2 B-12
    SANS SOUCI COURT                                     Commonwealth of Puerto Rico        Secured                    $165,600.00
    BAYAMON, PR 00957
                                                         Commonwealth of Puerto Rico        Unsecured                  $165,600.00

                                                                                            Subtotal                   $496,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $165,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $165,600.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 40 of 45
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                                                                 Exhibit A Page 42 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
161 SEDA RODRIGUEZ, GLORIA M                61912        Commonwealth of Puerto Rico        503(b)(9)                 $100,800.00* Commonwealth of Puerto Rico           Unsecured                 $100,800.00*
    URB. JARDINES DE COUNTRY CLUB
    AQ-11 CALLE 38                                       Commonwealth of Puerto Rico        Secured                   $100,800.00*
    CAROLINA, PR 00983
                                                                                            Subtotal                  $201,600.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $100,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $100,800.00.
162 SERRANO QUINONES, MIGDONIA              86712        Commonwealth of Puerto Rico        503(b)(9)                   $3,640.00* Commonwealth of Puerto Rico           Unsecured                   $3,640.00*
    URB. ESTANCIAS DEL GOLF
    309 JUAN H. CINTRON                                  Commonwealth of Puerto Rico        Secured                     $3,640.00*
    PONCE, PR 00730
                                                                                            Subtotal                    $7,280.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $3,640.00. Accordingly, claim has been reclassified in whole as a general unsecured
   claim in the amount of $3,640.00.
163 SOLANO DIAZ, MADELINE                   31354        Commonwealth of Puerto Rico        503(b)(9)               Undetermined* Commonwealth of Puerto Rico            Unsecured                 $151,200.00*
    HC-61 BOX 4204
    TRUJILLO ALTO, PR 00976                              Commonwealth of Puerto Rico        Secured                   $151,200.00*

                                                         Commonwealth of Puerto Rico        Unsecured                 $151,200.00*

                                                                                            Subtotal                  $302,400.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $151,200. Accordingly, claim has been reclassified in whole as a general unsecured
   claim in the amount of $151,200.00.
164 SOSA RIVERA, CLARIBEL                   28694        Commonwealth of Puerto Rico        503(b)(9)                  $266,400.00 Commonwealth of Puerto Rico           Unsecured                  $266,400.00
    PO BOX 679
    SAINT JUST, PR 00978                                 Commonwealth of Puerto Rico        Secured                    $266,400.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $266,400.00

                                                                                            Subtotal                   $799,200.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $266,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $266,400.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 41 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 43 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
165 SOSA RIVERA, CYNTHIA                    40755        Commonwealth of Puerto Rico        503(b)(9)                  $216,000.00 Commonwealth of Puerto Rico           Unsecured                  $216,000.00
    BOX 679
    SAINT JUST, PR 00978                                 Commonwealth of Puerto Rico        Secured                    $216,000.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $216,000.00

                                                                                            Subtotal                   $648,000.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $216,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $216,000.00.
166 TORRES GONZALEZ, LUIS M                 58022        Commonwealth of Puerto Rico        503(b)(9)                  $172,800.00 Commonwealth of Puerto Rico           Unsecured                  $172,800.00
    RR 3 BOX 4226
    SAN JUAN, PR 00926                                   Commonwealth of Puerto Rico        Secured                    $172,800.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $172,800.00

                                                                                            Subtotal                   $518,400.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $172,800.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $172,800.00.
167 TORRES RAMOS, MAYRA E                   25360        Commonwealth of Puerto Rico        503(b)(9)                  $151,200.00 Commonwealth of Puerto Rico           Unsecured                  $151,200.00
    73 CALLE NOBLE
    SAN JUAN, PR 00926                                   Commonwealth of Puerto Rico        Secured                    $151,200.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $151,200.00

                                                                                            Subtotal                   $453,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $151,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $151,200.00.
168 TRUJILLO PLUMEY, ROSAMAR                25818^       Commonwealth of Puerto Rico        503(b)(9)                  $69,346.20* Commonwealth of Puerto Rico           Unsecured                  $69,346.20*
    TIERRA DEL
    SOL CALLE 1 APT 122                                  Commonwealth of Puerto Rico        Secured                    $69,346.20*
    HUMACAO, PR 00791
                                                         Commonwealth of Puerto Rico        Unsecured                  $69,346.20*

                                                                                            Subtotal                  $208,038.60*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $69,346.20. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $69,346.20.
   ^ Claim #25818 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims



   * Indicates claim contains unliquidated and/or undetermined amounts
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                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 44 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
169 TRUJILLO PLUMEY, ROSAMAR                29473        Commonwealth of Puerto Rico        503(b)(9)                 $151,200.00* Commonwealth of Puerto Rico           Unsecured                 $151,200.00*
    COND. TIERRA DEL SOL APT 122
    HUMACAO, PR 00791                                    Commonwealth of Puerto Rico        Secured                   $151,200.00*

                                                         Commonwealth of Puerto Rico        Unsecured                 $151,200.00*

                                                                                            Subtotal                  $453,600.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $151,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $151,200.00.
170 VARGAS GOIRE, VIRNALYS                  82840        Commonwealth of Puerto Rico        503(b)(9)                 $108,000.00* Commonwealth of Puerto Rico           Unsecured                 $108,000.00*
    436 NOGALES
    ESTANCIAS DEL BOSQUE                                 Commonwealth of Puerto Rico        Secured                   $108,000.00*
    CIDRA, PR 00739
                                                                                            Subtotal                  $216,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $108,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $108,000.00.
171 VARGAS GONZALEZ, MARIO                  25960        Commonwealth of Puerto Rico        503(b)(9)               Undetermined* Commonwealth of Puerto Rico            Unsecured                  $77,712.00*
    171 CALLE POST SUR
    MAYAGÜEZ, PR 00680-4064                              Commonwealth of Puerto Rico        Secured                    $77,712.00*

                                                         Commonwealth of Puerto Rico        Unsecured                  $77,712.00*

                                                                                            Subtotal                  $155,424.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $77,712.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $77,712.00.
172 VAZQUEZ MOJICA, MARIA ISABEL            82968        Commonwealth of Puerto Rico        503(b)(9)                  $223,200.00 Commonwealth of Puerto Rico           Unsecured                  $223,200.00
    URB DORADO DEL MAR
    HH 4 CALLE PELICANO                                  Commonwealth of Puerto Rico        Secured                    $223,200.00
    DORADO, PR 00646
                                                         Commonwealth of Puerto Rico        Unsecured                  $223,200.00

                                                                                            Subtotal                   $669,600.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $223,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $223,200.00.




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 43 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 45 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
173 VAZQUEZ ROSA, ALMA D.                   119258       Commonwealth of Puerto Rico        503(b)(9)                 $252,000.00* Commonwealth of Puerto Rico           Unsecured                 $252,000.00*
    VILLA PALMERAS
    307 CALLE FERRER                                     Commonwealth of Puerto Rico        Secured                   $252,000.00*
    SANTURCE, PR 00915
                                                                                            Subtotal                  $504,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $252,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $252,000.00.
174 VEGA RIVERA, SANDRA I.                  29082^       Commonwealth of Puerto Rico        503(b)(9)                  $37,164.83* Commonwealth of Puerto Rico           Unsecured                  $37,164.83*
    HC4 BOX 42619
    AGUADILLA, PR 00603-9744                             Commonwealth of Puerto Rico        Secured                    $37,164.83*

                                                                                            Subtotal                   $74,329.66*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $37,164.83. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $37,164.83.
   ^ Claim #29082 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims

175 VELAZQUEZ LEBRON, MIGUEL A.             42138        Commonwealth of Puerto Rico        503(b)(9)                   $80,400.00 Commonwealth of Puerto Rico           Unsecured                   $80,400.00
    RES. LAS CASAS EDIF. 33
    APT 390                                              Commonwealth of Puerto Rico        Secured                     $80,400.00
    SAN JUAN, PR 00915
                                                                                            Subtotal                   $160,800.00

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $80,400.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $80,400.00.
176 VELEZ CRESPO, EDUARDO                   27235^       Commonwealth of Puerto Rico        503(b)(9)                 $180,000.00* Commonwealth of Puerto Rico           Unsecured                 $180,000.00*
    URB. CAPANA HEIGTH
    1471 CALLE EDEN                                      Commonwealth of Puerto Rico        Secured                   $180,000.00*
    SAN JUAN, PR 00920
                                                                                            Subtotal                  $360,000.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $180,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $180,000.00.
   ^ Claim #27235 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

177 VELEZ TORO, VICTOR                      27222^       Commonwealth of Puerto Rico        503(b)(9)                  $187,200.00 Commonwealth of Puerto Rico           Unsecured                  $187,200.00
    HC 1 BOX 7766
    SAN GERMAN, PR 00683                                 Commonwealth of Puerto Rico        Secured                    $187,200.00

                                                         Commonwealth of Puerto Rico        Unsecured                  $187,200.00

                                                                                            Subtotal                   $561,600.00

   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 44 of 45
                                    Case:17-03283-LTS Doc#:17109-1 Filed:06/18/21 Entered:06/18/21 19:14:51                                                       Desc:
                                                                 Exhibit A Page 46 of 46
                                                    Three Hundred and Forty-Seventh Omnibus Objection
                                                           Exhibit A - Claims to Be Reclassified
                                                                                        ASSERTED                                                                    CORRECTED
    NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                               STATUS                                                                       STATUS
   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $187,200.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $187,200.00.
   ^ Claim #27222 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

178 VICENTE MARQUEZ, JESUS                  15027^       Commonwealth of Puerto Rico        503(b)(9)                  $93,600.00* Commonwealth of Puerto Rico           Unsecured                  $93,600.00*
    C/3 D-10
    CASTELLANA GARDENS                                   Commonwealth of Puerto Rico        Secured                    $93,600.00*
    CAROLINA, PR 00983
                                                                                            Subtotal                  $187,200.00*

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $93,600.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $93,600.00.
   ^ Claim #15027 also contained on Exhibit A to the 351st Omnibus Claims Objection for Partially Duplicative Claims

179 YARITZA SANTIAGO CARMONA Y              44611        Commonwealth of Puerto Rico        503(b)(9)                 $150,000.00* Commonwealth of Puerto Rico           Unsecured                 $150,000.00*
    MIGUEL A. GONZALEZ ALVARADO
    YARITZA SANTIAGO CARMONA                             Commonwealth of Puerto Rico        Secured                   $150,000.00*
    C/ SURANA RES. JARDINES CAMPO
    RICO                                                                                    Subtotal                  $300,000.00*
    EDIFICIO 4 APT. 52
    SAN JUAN, PR 00924

   Reason: Claimant asserted administrative priority under 11 U.S.C. § 503(b)(9), but proof of claim is not for goods sold and as such claimant is not entitled to administrative priority. The claimant also
   failed to provide prima facie evidence to support a secured claim. In addition, claimant asserted a total claim amount of $150,000.00. Accordingly, claim has been reclassified in whole as a general
   unsecured claim in the amount of $150,000.00.
                                                         TOTAL                                                    $ 55,256,732.56* TOTAL                                                       $ 20,817,489.83*




   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                           Page 45 of 45
